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                                         February 15, 2021



VIA ECF

Hon. John P. Cronan
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     Rene Manzano Tiburcio, individually and on behalf of others similarly situated
               v. Pine Bar & Grill LLC (D/B/A Pine Bar + Grill), A & A Restaurant Inc. (D/B/A
               Pine Bar + Grill), Anthony Bastone, Alberto Beracha, and Frank Doe

               Case No. 1:20-cv-09922 (JPC)

Dear Judge Cronan:

          This firm represents Defendants in the above-referenced matter. We write with Plaintiff's
consent to request an extension of time for Defendants to answer or otherwise respond to
Plaintiff's Complaint. The deadline for Defendants to file their responsive pleading is currently
February 16, 2021. Defendants request that the deadline to file their responsive pleading be
extended to February 23, 2021. This is Defendants' second request for an extension.

        We thank the Court for its attention to this matter.


                                                   Sincerely,

                                                   s/ Philip K. Davidoff
                                                   Philip K. Davidoff

PKD/cao

cc:    All Counsel of Record (via ECF)
WSACTIVELLP:12064465.1




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